
781 So.2d 561 (2001)
Raymond FREDERICK and Susan Frederick, Individually and on Behalf of their Minor Daughter, A.F. and Joseph Washington and Sherry Washington, Individually and on Behalf of their Minor Daughter, S.W.
v.
VERMILION PARISH SCHOOL BOARD, Walter, "B.J." Levy, Alton J. Verrett, as Administrator of the Estate of his Minor Son, Z.V., Charlotte Nolan as Administrator and Natural Tutor of the Estate of her Minor Son, Q.N., and Betty Frederick as Administrator and Natural Tutor of the Estate of her Minor Son C.F., and Larry Moore as Administrator and Natural Tutor of the Estate of his Minor Son, T.M.
No. 2000-C-3171.
Supreme Court of Louisiana.
January 12, 2001.
Denied.
